AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                   for the

                                                           District of&ROXPELD

                  United States of America
                             v.                                      )
                                                                     )        Case No.
        Robert C. Chapman (AKA: Robert Erick)
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                          Robert C. Chapman                                                ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment          u Information        u Superseding Information             ;
                                                                                                                       u Complaint
u Probation Violation Petition               u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
Authority;
18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
Authority;
40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds;
40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.

Date:          04/13/2021
                                                                                            Issuing officer’s signature

City and state:                      :DVKLQJWRQ'&                        Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)




                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                          (Not for Public Disclosure)

Name of defendant/offender: Robert C. Chapman
Known aliases:           Robert Erick
Last known residence:                 966 Mile Square Rd, FL1, Yonkers, NY 10704

Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:           9/19/1970
Social Security number:                XXX-XX-XXXX

Height:                                                                  Weight:        N/A

Sex:      Male                                                           Race:      White

Hair:     N/A                                                            Eyes:      N/A

Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency                         FBI - TFO

,QYHVWLJDWLYHDJHQF\DGGUHVV      New York Field Office
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
